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United States Bankruptcy Court

Southern District of Florida

In re Maria E Matthews

Case No.

Debtor Chapter ’

DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
above named debtor(s) and that compensation paid to me within one year before the filing of the
petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

FLAT FEE

For legal services, I have agreed to accept .... 2.2.2.0... 00. c eee eee eee $ 1200.00

1,500.00
$

Prior to the filing of this statement I have received.......... 0.0... .0 00 eee

Balance Due... 2... eee eee eee eee eee eae

RETAINER

For legal services, I have agreed to accept a retainer of ................004. $

The undersigned shall bill against the retainer at an hourly rate of ........... $

[Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
approved fees and expenses exceeding the amount of the retainer.

2. The source of the compensation paid to me was:

V | Debtor Other (specify)

3. The source of compensation to be paid to me is:

V | Debtor Other (specify)

4. v | I have not agreed to share the above-disclosed compensation with any other person unless they
are members and associates of my law firm.

I have agreed to share the above-disclosed compensation with a other person or persons who
are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
of the people sharing the compensation is attached.

5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
bankruptcy case, including:
a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining

whether to file a petition in bankruptcy;
b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be

required;
c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any

adjourned hearings thereof;
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d. [Other provisions as needed]
Filing documents

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
All services included
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CERTIFICATION
I certify that the foregoing is a complete statement of any agreement or arrangement for
payment to me for representation of the débtor(s) in this bankruptcy proceeding.

08/25/2022
eS \

Date (Sepa of Attorney
De’ egal Services, LLC

Name of law firm
1615 S Congréss Av

Suite 103
Delray Beach, FL 33445

